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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA

         v.                                                  CASE NO.
                                                             3:00cr227 (SRU)
 MICHAEL HILLIARD

        RULING AND ORDER REGARDING REQUEST FOR RESENTENCING

       Michael Hilliard pled guilty to a charge of conspiring to possess with intent to distribute

1,000 grams or more of heroin, in violation of 21 U.S.C. §§ 841(a)(1) and 846. On December

15, 2003, I sentenced Hilliard principally to 330 months’ imprisonment. The term of

imprisonment reflected a downward departure from the Sentencing Guideline range of 360

months to life. Hilliard appealed his sentence. On December 3, 2004, the United States Court of

Appeals for the Second Circuit affirmed the sentence by summary order, but withheld the

mandate pending decision by the United States Supreme Court of United States v. Booker, 543

U.S. 220 (2005). On April 5, 2005, the Second Circuit remanded the case for proceedings

consistent with United States v. Crosby, 397 F.3d 103 (2d Cir. 2005).

       Following remand, I reviewed the parties’ briefing, the Presentence Report, and the

transcript of the sentencing hearing on December 15, 2003. Based upon that review, I have

decided that I would not have sentenced Hilliard to a non-trivially different sentence had the

Sentencing Guidelines been advisory at the time of his initial sentencing.

       My decision is based upon two principal facts. First, at the initial sentencing, I was able

to depart from the Sentencing Guidelines incarceration range. This meant that the mandatory

nature of the Sentencing Guidelines did not prevent me from imposing the sentence of

incarceration that I believed was appropriate, taking into account all of the information I had
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available to me about Hilliard. Second, having decided to depart, I weighed the factors set forth

in 18 U.S.C. § 3553(a) when deciding upon the sentence imposed. Thus, I considered the nature

and circumstances of the offense, the characteristics of the defendant, the purposes of sentencing,

and the Sentencing Guideline range. See Sentencing Tr. at 111-16 (Dec. 15, 2003). The facts I

relied upon at the initial sentencing remain pertinent under an advisory Sentencing Guidelines

scheme: a long record of prior convictions, a history of violence, a supervisory role in “a very

extensive and dangerous group selling drugs in Bridgeport for a long time,” id. at 115, the need

for punishment commensurate with the seriousness of the crime, and the impact of the crime on

the community. Id. at 116. At the same time, I was able to consider mitigating factors that

together formed the basis for the downward departure. Id. at 114. These are the same facts that

would have led me to impose a sentence not trivially different than 330 months’ imprisonment

had I been able to sentence Hilliard under an advisory Sentencing Guideline scheme in December

2003.

        The motion for resentencing (doc. # 1387) is DENIED.



        It is so ordered.

        Dated at Bridgeport, Connecticut, this 12th day of May 2006.


                                                      /s/ Stefan R. Underhill
                                                              Stefan R. Underhill
                                                              United States District Judge




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